 1                                                                             The Honorable Lauren King
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 7                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE
 9   STATE OF WASHINGTON, et al.,                              NO. 2:25-cv-00244-LK
10                        Plaintiffs,                          JOINT STATUS REPORT
11       v.
12   DONALD J. TRUMP, in his official capacity
     as President of the United States, et al.,
13
                          Defendants.
14

15            In accordance with the Court’s Feb. 20, 2025, Minute Order, Dkt. #213, the counsel for the

16   parties respectfully submit this Joint Status Report as directed by the Court.

17   Evidentiary Hearing

18            Neither Plaintiffs nor Defendants will present live testimony. The Parties agree that no

19   evidentiary hearing is necessary.

20            The Plaintiffs’ position is that the Court should maintain its initial decision to schedule oral

21   argument on the motion for February 28, 2025, at 2:00 p.m. PT. Plaintiffs have filed a First

22   Amended Complaint (Dkt. #164), naming the state of Colorado as an additional Plaintiff, adding

23   new Defendants, raising new claims against an additional executive order, Executive Order 14,168,

24   and an additional claim under the Fifth Amendment for unconstitutional vagueness. Defendants

25   have additionally raised a motion to stay any preliminary injunction. The Court should have the

26   benefit of oral argument regarding these new issues. Plaintiffs’ proposal also aligns with the Court’s


     JOINT STATUS REPORT                                  1                ATTORNEY GENERAL OF WASHINGTON
                                                                                Complex Litigation Division
     NO. 2:25-cv-00244-LK                                                       800 Fifth Avenue, Suite 2000
                                                                                    Seattle, WA 98104
                                                                                       (206) 464-7744
 1   announcement at the hearing on Plaintiffs’ Motion for Temporary Restraining Order that the Court
 2   would hold a public hearing on Plaintiffs’ Motion for Preliminary Injunction on February 28, 2025,
 3   at 2:00 p.m. PT. TRO Tr. 36:7-8 (Feb. 14, 2025). Given the Court’s announcement and the public
 4   interest in this case, including from declarants in this matter who have notified Plaintiff States they
 5   plan to attend the hearing, Plaintiffs request the Court maintain the preliminary injunction hearing.
 6           Defendants’ position remains that oral argument on the Motion for Preliminary
 7   Injunction is not necessary and the Motion may be decided on the papers. See Jt. Status Rep.,
 8   Dkt. #168. In the event the Court decides to hold oral argument, Defendants respectfully request
 9   that the Court inform the parties by 3:00 PM PST today, if possible, so that counsel can
10   expeditiously make the necessary travel arrangements.
11           DATED this 26th day of February 2025.
12    NICHOLAS W. BROWN                                  NICHOLAS W. BROWN
      Attorney General of Washington                     Attorney General of Washington
13
      /s/ William McGinty                                /s/ Lauryn K. Fraas
14    WILLIAM MCGINTY, WSBA #41868                       LAURYN K. FRAAS, WSBA #53238
      CYNTHIA ALEXANDER, WSBA #46019                     COLLEEN MELODY, WSBA #42275
15    TERA HEINTZ, WSBA #54921                           Assistant Attorneys General
      ANDREW R.W. HUGHES, WSBA #49515                    800 Fifth Avenue, Suite 2000
16    NEAL LUNA, WSBA #34085                             Seattle, WA 98104-3188
      CRISTINA SEPE, WSBA #53609                         (360) 709-6470
17    LUCY WOLF, WSBA #59028                             Lauryn.Fraas@atg.wa.gov
      Assistant Attorneys General                        Colleen.Melody@atg.wa.gov
18    800 Fifth Avenue, Suite 2000                       Attorneys for Physicians Plaintiffs 1-3
      Seattle, WA 98104-3188
19    (360) 709-6470
      William.McGinty@atg.wa.gov
20    Cynthia.Alexander@atg.wa.gov
      Tera.Heintz@atg.wa.gov
21    Andrew.Hughes@atg.wa.gov
      Neal.Luna@atg.wa.gov
22    Cristina.Sepe@atg.wa.gov
      Lucy.Wolf@atg.wa.gov
23    Attorneys for Plaintiff State of Washington
24

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     JOINT STATUS REPORT                                 2               ATTORNEY GENERAL OF WASHINGTON
                                                                              Complex Litigation Division
     NO. 2:25-cv-00244-LK                                                     800 Fifth Avenue, Suite 2000
                                                                                  Seattle, WA 98104
                                                                                     (206) 464-7744
 1    KEITH ELLISON                                DAN RAYFIELD
      Attorney General of Minnesota                Attorney General of Oregon
 2
      /s/ James W. Canaday                         /s/ Allie M. Boyd
 3    JAMES W. CANADAY (admitted pro hac           ALLIE M. BOYD, WSBA #56444
      vice)                                        Senior Assistant Attorney General
 4    Deputy Attorney General                      Trial Attorney
      445 Minnesota St., Ste. 600                  1162 Court Street NE
 5    St. Paul, Minnesota 55101-2130               Salem, OR 97301-4096
      (651) 757-1421                               (503) 947-4700
 6    james.canaday@ag.state.mn.us                 allie.m.boyd@doj.oregon.gov
      Attorneys for Plaintiff State of Minnesota   Attorneys for Plaintiff State of Oregon
 7

 8    PHIL WEISER                                  ERIC HAMILTON
      Attorney General of Colorado                 Deputy Assistant Attorney General
 9
      /s/ Shannon Stevenson                        MICHELLE BENNETT
10    SHANNON STEVENSON (admitted pro hac          Assistant Branch Director
      vice)
11    Solicitor General                            /s/ Vinita B. Andrapalliyal
      Office of the Colorado Attorney General      VINITA B. ANDRAPALLIYAL
12    1300 Broadway, #10                           Senior Counsel
      Denver, CO 80203                             CHRISTIAN S. DANIEL
13    (720) 508-6000                               Trial Attorney
      shannon.stevenson@coag.gov                   United State Department of Justice
14    Attorneys for Plaintiff State of Colorado    Civil Division, Federal Programs Branch
                                                   1100 L Street NW
15                                                 Washington, D.C. 20530
                                                   Vinita.B.Andrapalliyal@usdoj.gov
16                                                 Christian.S.Daniel@usdoj.gov
                                                   Attorneys for Defendants
17

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20

21

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     JOINT STATUS REPORT                           3              ATTORNEY GENERAL OF WASHINGTON
                                                                       Complex Litigation Division
     NO. 2:25-cv-00244-LK                                              800 Fifth Avenue, Suite 2000
                                                                           Seattle, WA 98104
                                                                              (206) 464-7744
